                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                             Chapter 11

         ALAMO DRAFTHOUSE CINEMAS                                           Case No. 21-10474 (MFW)
         HOLDINGS, LLC, et al.,
                                                                            (Jointly Administered)
                                                       1
                                             Debtors.
                                                                            Re: Docket No. 1171


                    CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 1171

                           The undersigned hereby certifies that, as of the date hereof, he has received no

         answer, objection, or other responsive pleading to the Debtors’ First Omnibus (Non-Substantive)

         Objection to Claims Pursuant to Section 502(b) of the Bankruptcy Code, Bankruptcy Rules 3003

         and 3007, and Local Rule 3007-1 [Docket No. 1171] (the “Objection”) filed on April 26, 2022.

                           The undersigned further certifies that he has reviewed the Court’s docket in this

         case and no answer, objection, or other responsive pleading to the Objection appears thereon.

         Responses to the Objection were to be filed and served by 4:00 p.m. (ET) on May 10, 2022 (as

         may have been extended for any party by the Debtors).

                           It is hereby respectfully requested that the form of order filed in connection with

         the Objection be entered at the earliest convenience of the Court.


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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Alamo Drafthouse Cinemas Holdings, LLC (2205); Alamo Drafthouse Cinemas, LLC (5717); Alamo
             Vineland, LLC (1626); Alamo League Investments GP, LLC (1811); Alamo League Investments, Ltd. (7227);
             Alamo South Lamar GP, LLC (3632); Alamo South Lamar, LP (4563); Alamo Drafthouse Raleigh, LLC (5979);
             Alamo DH Anderson Lane, LLC (3642); Alamo Yonkers, LLC (4971); Alamo Mission, LLC (2284); Alamo Ritz,
             LLC (9465); Alamo Mueller, LLC (1221); Mondo Tees, LLC (6900); Alamo City Foundry, LLC (6092); Alamo
             Mainstreet, LLC (2052); Alamo City Point, LLC (3691); Alamo Liberty, LLC (5755); Alamo Satown, LLC (6197);
             Alamo Marketplace, LLC (7041); Alamo Stone Oak, LLC (8398); Alamo Westlakes, LLC (4931); Alamo Park
             North, LLC (1252); Alamo North SA, LLC (6623); Alamo Avenue B, LLC (8950); Alamo Slaughter Lane GP,
             LLC (6968); Alamo Slaughter Lane, Ltd. (5341); Alamo Cinema Group I GP, LLC (9537); Alamo Cinema Group
             I, LP (9656); Alamo Westminster, LLC (8906); Alamo Staten Island, LLC (7781); Alamo Aspen Grove, LLC
             (7786); Alamo Lakeline, LLC (5294); Alamo Sloans, LLC (9343). The location of the Debtors’ service address is:
             3908 Avenue B, Austin, Texas 78751.
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             Dated: May 11, 2022           YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                           /s/ Jared W. Kochenash
                                           M. Blake Cleary (No. 3614) (mbcleary@ycst.com)
                                           Matthew B. Lunn (No. 4119) (mlunn@ycst.com)
                                           Kenneth J. Enos (No. 4544) (kenos@ycst.com)
                                           Jared W. Kochenash (No. 6557) (jkochenash@ycst.com)
                                           1000 N. King Street
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 571-6600
                                           Facsimile: (302) 571-1253

                                           Counsel to the Debtors and Debtors in Possession




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